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                                          April 28, 2016




Honorable Paul D. Ryan
Speaker of the House of Representatives
Washington, D.C. 20515

Dear Mr. Speaker:

        I have the honor to submit to the Congress the amendments to the Federal Rules of
Criminal Procedure that have been adopted by the Supreme Court of the United States pursuant
to Section 2072 of Title 28, United States Code.

        Accompanying these rules are the following materials submitted to the Court for its
consideration pursuant to Section 331 of Title 28, United States Code: a transmittal letter to the
Court dated October 9, 2015; a redline version of the rules with Committee Notes; an excerpt
from the September 2015 Report of the Committee on Rules of Practice and Procedure to the
Judicial Conference of the United States; and an excerpt from the May 6, 2015 Report of the
Advisory Committee on Criminal Rules.

                                                Sincerely,

                                        /s/ John G. Roberts
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                                          April 28, 2016




Honorable Joseph R. Biden, Jr.
President, United States Senate
Washington, D.C. 20510

Dear Mr. President:

        I have the honor to submit to the Congress the amendments to the Federal Rules of
Criminal Procedure that have been adopted by the Supreme Court of the United States pursuant
to Section 2072 of Title 28, United States Code.

        Accompanying these rules are the following materials submitted to the Court for its
consideration pursuant to Section 331 of Title 28, United States Code: a transmittal letter to the
Court dated October 9, 2015; a redline version of the rules with Committee Notes; an excerpt
from the September 2015 Report of the Committee on Rules of Practice and Procedure to the
Judicial Conference of the United States; and an excerpt from the May 6, 2015 Report of the
Advisory Committee on Criminal Rules.

                                                Sincerely,

                                        /s/ John G. Roberts
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Corrected                               April 28, 2016




                        SUPREME COURT OF THE UNITED STATES




ORDERED:

       1. That the Federal Rules of Criminal Procedure be, and they hereby are, amended by
including therein amendments to Criminal Rules 4, 41, and 45.

       [See infra pp.        .]

        2. That the foregoing amendments to the Federal Rules of Criminal Procedure shall take
effect on December 1, 2016, and shall govern in all proceedings in criminal cases thereafter
commenced and, insofar as just and practicable, all proceedings then pending.

        3. That THE CHIEF JUSTICE be, and hereby is, authorized to transmit to the Congress
the foregoing amendments to the Federal Rules of Criminal Procedure in accordance with the
provisions of Section 2072 of Title 28, United States Code.
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                 PROPOSED AMENDMENTS TO THE
             FEDERAL RULES OF CRIMINAL PROCEDURE


           Rule 4. Arrest Warrant or Summons on a Complaint

           (a) Issuance. If the complaint or one or more affidavits

               filed with the complaint establish probable cause to

               believe that an offense has been committed and that

               the defendant committed it, the judge must issue an

               arrest warrant to an officer authorized to execute it.

               At the request of an attorney for the government, the

               judge must issue a summons, instead of a warrant, to a

               person authorized to serve it. A judge may issue more

               than one warrant or summons on the same complaint.

               If an individual defendant fails to appear in response

               to a summons, a judge may, and upon request of an

               attorney for the government must, issue a warrant. If

               an organizational defendant fails to appear in response

               to a summons, a judge may take any action authorized

               by United States law.
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                FEDERAL RULES OF CRIMINAL PROCEDURE                  2


                                   *****

           (c) Execution or Service, and Return.

               (1) By Whom. Only a marshal or other authorized

                    officer may execute a warrant.         Any person

                    authorized to serve a summons in a federal civil

                    action may serve a summons.

               (2) Location.    A warrant may be executed, or a

                    summons served, within the jurisdiction of the

                    United States or anywhere else a federal statute

                    authorizes an arrest.       A summons to an

                    organization under Rule 4(c)(3)(D) may also be

                    served at a place not within a judicial district of

                    the United States.

               (3) Manner.

                    (A) A warrant is executed by arresting the

                         defendant.      Upon    arrest,   an   officer

                         possessing the original or a duplicate
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           3    FEDERAL RULES OF CRIMINAL PROCEDURE


                       original warrant must show it to the

                       defendant. If the officer does not possess

                       the warrant, the officer must inform the

                       defendant of the warrant’s existence and of

                       the offense charged and, at the defendant’s

                       request, must show the original or a

                       duplicate original warrant to the defendant

                       as soon as possible.

                   (B) A summons is served on an individual

                       defendant:

                       (i)   by delivering a copy to the defendant

                             personally; or

                       (ii) by leaving a copy at the defendant’s

                             residence or usual place of abode with

                             a person of suitable age and discretion

                             residing at that location and by
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                FEDERAL RULES OF CRIMINAL PROCEDURE               4


                             mailing a copy to the defendant’s last

                             known address.

                   (C) A summons is served on an organization in

                       a judicial district of the United States by

                       delivering a copy to an officer, to a

                       managing or general agent, or to another

                       agent appointed or legally authorized to

                       receive service of process. If the agent is

                       one authorized by statute and the statute so

                       requires, a copy must also be mailed to the

                       organization.

                   (D) A summons is served on an organization

                       not within a judicial district of the United

                       States:

                       (i)   by delivering a copy, in a manner

                             authorized       by    the     foreign

                             jurisdiction’s law, to an officer, to a
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           5    FEDERAL RULES OF CRIMINAL PROCEDURE


                           managing or general agent, or to an

                           agent appointed or legally authorized

                           to receive service of process; or

                       (ii) by any other means that gives notice,

                           including one that is:

                           (a) stipulated by the parties;

                           (b) undertaken by a foreign authority

                                in response to a letter rogatory, a

                                letter of request, or a request

                                submitted under an applicable

                                international agreement; or

                           (c) permitted     by     an   applicable

                                international agreement.

                                *****
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                FEDERAL RULES OF CRIMINAL PROCEDURE                  6


           Rule 41. Search and Seizure

                                   *****

           (b) Venue for a Warrant Application. At the request of

               a federal law enforcement officer or an attorney for

               the government:

                                   *****

               (6) a magistrate judge with authority in any district

                    where activities related to a crime may have

                    occurred has authority to issue a warrant to use

                    remote access to search electronic storage media

                    and to seize or copy electronically stored

                    information located within or outside that district

                    if:

                    (A) the district where the media or information

                          is located has been concealed through

                          technological means; or
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            7     FEDERAL RULES OF CRIMINAL PROCEDURE


                      (B) in an investigation of a violation of

                           18 U.S.C. § 1030(a)(5), the media are

                           protected    computers     that      have   been

                           damaged without authorization and are

                           located in five or more districts.

                                       *****

            (f)   Executing and Returning the Warrant.

                  (1) Warrant to Search for and Seize a Person or

                      Property.

                                       *****

                      (C) Receipt. The officer executing the warrant

                           must give a copy of the warrant and a

                           receipt for the property taken to the person

                           from whom, or from whose premises, the

                           property was taken or leave a copy of the

                           warrant and receipt at the place where the

                           officer took the property. For a warrant to
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                FEDERAL RULES OF CRIMINAL PROCEDURE                    8


                        use remote access to search electronic

                        storage    media      and    seize    or    copy

                        electronically     stored    information,    the

                        officer must make reasonable efforts to

                        serve a copy of the warrant and receipt on

                        the person whose property was searched or

                        who possessed the information that was

                        seized    or     copied.    Service   may     be

                        accomplished by any means, including

                        electronic means, reasonably calculated to

                        reach that person.

                                  *****
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            9    FEDERAL RULES OF CRIMINAL PROCEDURE



            Rule 45. Computing and Extending Time

                                    *****

            (c) Additional Time After Certain Kinds of Service.

                Whenever a party must or may act within a specified

                time after being served and service is made under

                Federal Rule of Civil Procedure 5(b)(2)(C) (mailing),

                (D) (leaving with the clerk), or (F) (other means

                consented to), 3 days are added after the period would

                otherwise expire under subdivision (a).
